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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MIKE KLOPPEL and ADAM WILSON, on
behalf of themselves and all other persons
similarly situated,

                     Plaintiffs,             Civil Action No. 6:17-cv-06296-FPG

                     v.
                                             ELECTRONICALLY FILED
SEARS HOLDINGS CORPORATION;
SEARS, ROEBUCK & COMPANY; and
HOMEDELIVERYLINK, INC.,

                    Defendants.


                DEFENDANTS SEARS HOLDINGS CORPORATION
               AND SEARS, ROEBUCK AND CO.’S MEMORANDUM
              OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS




                                         MORGAN, LEWIS & BOCKIUS LLP

                                         Michael J. Puma
                                         1701 Market Street
                                         Philadelphia, PA 19103-2921
                                         Telephone:     +1.215.963.5000
                                         Facsimile:     +1.215.963.5001
                                         Email:         michael.puma@morganlewis.com

                                         Brendan T. Killeen
                                         101 Park Avenue
                                         New York, NY 10178
                                         Telephone:    +1.212.309.6000
                                         Facsimile:    +1.212.309.6001
                                         Email:        brendan.killeen@morganlewis.com

                                         Attorney for Defendants Sears Holdings
                                         Corporation and Sears, Roebuck and Co.
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         Defendants Sears Holdings Corporation and Sears, Roebuck and Co. (incorrectly

identified in the First Amended Complaint as Sears, Roebuck & Company) (together, “Sears”)

respectfully move this Court for an order dismissing, with prejudice, Plaintiffs Mike Kloppel and

Adam Wilson’s (“Plaintiffs”) First Amended Complaint (“Amended Complaint”), as it relates to

Sears, for failure to state a claim upon which relief can be granted.

I.       INTRODUCTION

         Despite naming Sears as a defendant in this case, Sears is conspicuously absent from any

factual allegations in Plaintiffs’ Amended Complaint that could give rise to a claim for relief.

Plaintiffs allege that both Sears and Defendant HomeDeliveryLink, Inc. (“HDL”) violated three

separate provisions of the New York Labor Law (“NYLL”). Specifically, Plaintiffs claim that

Sears and HDL took illegal deductions (Count I, the “wage deductions claim”) and “kick-backs”

(Count II, the “kick-backs claim”) from their wages and failed to provide them with accurate

wage statements (Count III, the “wage statement” claim). Plaintiffs further allege unjust

enrichment (Count IV) against all Defendants. But Plaintiffs’ allegations against Sears consist

entirely of these conclusory assertions and are wholly insufficient to survive dismissal. As

discussed more fully below, the Amended Complaint against Sears should be dismissed for three

reasons.

         First, to state a claim under Article 6 of the NYLL (which is the basis for Plaintiffs’

NYLL claims), a plaintiff must make a threshold allegation that he or she is owed wages by the

defendant pursuant to a contract or agreement. Plaintiffs do not – and cannot – make this

assertion against Sears. Indeed, the only contract or agreement that the Amended Complaint

references at all is one between Plaintiffs and HDL. Thus, Plaintiffs’ NYLL claims (i.e., the

wage deductions, kick-backs, and wage statement claims) fail as a matter of law on this basis

alone.

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       Second, Plaintiffs’ wage deductions and kick-backs claims alternatively fail (as they

relate to Sears) because, in support of those claims, Plaintiffs proffer a grand total of three factual

allegations – not one of which even mentions Sears:

       31.    HDL deducts certain expenses directly from the compensation it pays,
       including when HDL determines, in its sole discretion, that a delivery has been
       made in a manner it deems to be unsatisfactory (e.g., damaged goods, damage to
       customer property). HDL will deduct the costs of such damage from paychecks.

       32.    HDL would also deduct other expenses from the compensation it pays
       such as the cost of truck rental and fuel.

       33.     There were also times when HDL would deduct the costs of workers’
       compensation insurance and general liability insurance from the compensation it paid
       to Plaintiffs and the other New York Drivers.

Am. Compl. ¶¶ 31-33 (emphases added). As is plainly evident from the face of Plaintiffs’

Amended Complaint, there is no factual allegation in the Amended Complaint that plausibly

suggests that Plaintiffs have a claim to relief against Sears for their wage deductions and kick-

backs claims. Accordingly, Plaintiffs’ wage deductions and kick-backs claims against Sears

should be dismissed.

       Third, Plaintiffs’ unjust enrichment claim should be dismissed, as it relates to Sears, for

two reasons, each of which is an independent basis for dismissal. As an initial matter, this claim

is wholly derivative of Plaintiffs’ wage deductions and kick-backs claims and, therefore, fails for

the same reasons fatal to those claims as set forth above (namely, the lack of factual allegations

to tie these claims to Sears). Alternatively, quasi-contract claims – such as those for unjust

enrichment – may only proceed in the absence of an express agreement. Here, because Plaintiffs

allege that their claims arise out of an express contract with HDL, their unjust enrichment claim

is barred. For both (or either) of these independent reasons, Plaintiffs’ unjust enrichment claim

against Sears should be dismissed.



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II.     PERTINENT FACTUAL ALLEGATIONS

        HDL contracts with various companies (one of which Plaintiffs allege is Sears)1 to

provide delivery of retail merchandise to customers’ homes. Am. Compl. ¶ 13. Plaintiffs

entered into contracts with HDL (not Sears) to perform delivery services. See id. (“HDL

purports to contract with individuals such as the Plaintiffs to drive a delivery truck and to

delivery [sic] merchandise . . . .”). Notably, Plaintiffs do not allege that they entered into a

contract or agreement with Sears.

        Plaintiffs allege that HDL (not Sears) “deducts certain expenses directly from the

compensation it pays [them]” and that there were times when HDL (not Sears) “would deduct the

costs of workers’ compensation insurance and general liability insurance” from their compensation.

Id. ¶¶ 31-33. Plaintiffs’ NYLL and unjust enrichment claims against both Sears and HDL are based

solely on those allegations, neither of which implicates Sears. See generally id.

III.    LEGAL STANDARD

        The purpose of Federal Rule of Civil Procedure 12(b)(6) is to “streamline[] litigation by

dispensing with needless discovery and factfinding” and eliminating baseless claims. Neitzke v.

Williams, 490 U.S. 319, 326-27 (1989). Thus, where “the allegations in a complaint, however

true, could not raise a claim of entitlement to relief, ‘this basic deficiency should . . . be exposed

at the point of minimum expenditure of time and money by the parties and the court.’” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 558 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662 (2009).

1
  Although not material to the instant Motion, Plaintiffs’ allegation that Sears contracts with
HDL is simply incorrect. HDL contracts with Innovel Solutions, Inc. (“Innovel”) to provide
delivery services for customers of Sears and other retailers. Plaintiffs’ counsel (Harold L.
Lichten) is well aware of this fact, as he is counsel to the plaintiffs in a similar lawsuit in which
the plaintiffs recently amended their complaint to add Innovel as a defendant. See Johnson et al.
v. Diakon Logistics et al., No. 1:16-cv-06776, Dkt. Nos. 37 and 40 (N.D. Ill). If Plaintiffs’
claims against Sears survive this Motion, Sears will assert as an additional defense that it is not a
proper defendant and seek summary judgment on this basis, among others.

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       To survive a motion to dismiss, a complaint must contain enough facts to state a claim to

relief that is “plausible” on its face. Twombly, 550 U.S. at 570; Iqbal, 556 U.S. at 662. A

complaint that consists of “labels and conclusions or a formulaic recitation of the elements of a

cause of action will not do.” Burgos v. Grenier, No. 13-CV-6533-FPG, 2014 WL 3749651, at *1

(W.D.N.Y. July 29, 2014) (Geraci, Jr., C.J.) (citing Twombly, 550 U.S. at 555). “Nor does a

complaint suffice if it tenders naked assertion[s] devoid of further factual enhancement.” Id.

(citing Twombly, 550 U.S. at 557) (quotations omitted).

IV.    ARGUMENT

       A.      Plaintiffs’ NYLL Claims Against Sears Should Be Dismissed Because The
               Amended Complaint Does Not Allege That Sears Owed Plaintiffs A
               Contractual Right To Wages.

       Plaintiffs’ wage deductions, kick-backs, and wage statement claims are all brought under

different provisions of Article 6 of the NYLL. See Am. Compl. ¶ 46 (wage deductions claim

brought under NYLL Section 193); id. ¶ 49 (kick-backs claim brought under NYLL Section 198-

b); id. ¶ 51 (wage statement claim brought under NYLL Section 195). It is black letter law in

New York that a “plaintiff cannot assert a statutory claim for wages under the Labor Law [i.e., an

Article 6 claim] if he has no enforceable contractual right to those wages.” Tierney v. Capricorn

Inv’rs, L.P., 189 A.D.2d 629, 632 (1st Dep’t 1993). In Tierney, the Appellate Division held that

the trial court erred by refusing to dismiss a cause of action for alleged unpaid wages that the

plaintiff claimed he was promised by his employer because the plaintiff failed to adequately

allege that he had a contractual right to the wages. Id.

       Because this question – that is, whether a plaintiff bringing claims under Article 6 of the

NYLL must allege that he or she is owed wages pursuant to a contract or agreement – is one of

state law, New York federal courts are “bound to apply state substantive law” when answering it.

See, e.g., King v. Crossland Sav. Bank, 111 F.3d 251, 255 (2d Cir. 1997). Indeed, the Second

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Circuit heeded Tierney’s guidance in O’Grady v. BlueCrest Capital Mgmt. LLP. In O’Grady,

the Second Circuit relied on Tierney in affirming the dismissal of a claim for alleged unlawful

deductions under NYLL Section 193 because “[t]he failure of [plaintiff’s] contract claim also

necessarily defeats his wage claim.” 646 F. App’x 2, 4 (2d Cir. 2016). District Courts in the

Southern District of New York – both before and after O’Grady – have similarly so held. See

Komlossy v. Faruqi & Faruqi, LLP, No. 15 CIV. 9316 (KPF), 2017 WL 722033, at *12

(S.D.N.Y. Feb. 23, 2017), appeal filed, No. 17-834 (2d Cir. Mar. 24, 2017) (citing O’Grady and

dismissing claim for unlawful deductions under NYLL Section 193 because “[plaintiff] has no

enforceable contractual right” to the wages from which the alleged deductions were taken);

Simas v. Merrill Corp., No. 02 CIV.4400 RCC, 2004 WL 213013, at *3 (S.D.N.Y. Feb. 4, 2004)

(holding that “a claim under Article 6 [of the NYLL] rises and falls with [a] plaintiff’s claim for

breach of contract,” and thus “[f]ailure to establish a contractual right to wages necessarily

precludes a statutory claim under [Article 6 of] New York’s labor law”).

        Here, the Amended Complaint alleges that Plaintiffs were parties to contracts with HDL

(not Sears). See Am. Compl. ¶ 13 (“HDL purports to contract with individuals such as the

Plaintiffs . . . .”) (emphasis added); id. ¶ 29 (“Plaintiffs . . . are not permitted to subcontract or

assign their rights under their agreement with HDL to another delivery driver.”) (emphasis

added). There is no allegation that the purported contract – or any contract – existed between

Plaintiffs and Sears – nor could there be given that none exists.

        Because Plaintiffs have failed to allege any contractual right to wages owed by Sears,

their claims against Sears under Article 6 of the NYLL (Counts I, II, and III) must be dismissed.




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        B.      Plaintiffs’ Wage Deduction And Kick-Backs Claims Against Sears Should Be
                Dismissed Because The Amended Complaint Does Not Allege Any Facts
                Sufficient To State A Claim For Relief Against Sears.

        Even if Plaintiffs sufficiently alleged that they had a contractual right to wages from

Sears, which they unquestionably have not, their wage deductions and kick-backs claims against

Sears nonetheless should be dismissed because the Amended Complaint lacks factual allegations

that Sears participated in the alleged violations.

        The wage deductions claim is brought under NYLL Section 193, which provides that

“[n]o employer shall make any deduction from the wages of an employee.”2 The kick-backs

claim is brought under NYLL Section 198-b, which provides that “it shall be unlawful for any

person . . . to request, demand, or receive . . . a return, donation or contribution of any part or all

of [an] employee’s wages . . . upon the statement, representation, or understanding that failure to

comply with such request or demand will prevent such employee from procuring or retaining

employment.” Taken together, Plaintiffs’ theory is that there were unlawful deductions from

their wages combined with a “statement or representation” that their “employment” would be

terminated if they did not coalesce to those deductions. But the only factual allegations offered

to support the wage deductions and kick-backs claims are in Paragraphs 31-33 of the Amended

Complaint, which state:

        31.    HDL deducts certain expenses directly from the compensation it pays,
        including when HDL determines, in its sole discretion, that a delivery has been
        made in a manner it deems to be unsatisfactory (e.g., damaged goods, damage to
        customer property). HDL will deduct the costs of such damage from paychecks.

        32.    HDL would also deduct other expenses from the compensation it pays
        such as the cost of truck rental and fuel.

2
  NYLL Section 193 provides for certain exceptions to the prohibition against deductions, but
they are not relevant to the instant Motion. If this claim were to survive this Motion, Sears
anticipates asserting – and reserves the right to assert – any and all additional defenses following
discovery.

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       33.     There were also times when HDL would deduct the costs of workers’
       compensation insurance and general liability insurance from the compensation it paid
       to Plaintiffs and the other New York Drivers.

Am. Compl. ¶¶ 31-33 (emphases added). Sears is entirely absent from these allegations.3

       To state a claim under NYLL Section 193, a plaintiff must allege that a defendant

made a “specific deduction that constitutes the alleged violation.” Kone v. Joy Constr.

Corp., No. 15CV1328-LTS, 2016 WL 866349, at *4 (S.D.N.Y. Mar. 3, 2016) (emphasis

added) (dismissing NYLL Section 193 claim because “[p]laintiffs simply allege that

[d]efendants made unlawful deductions in wages owed to [p]laintiffs”). Indeed, the

Second Circuit recently affirmed the dismissal of a Section 193 claim because the

plaintiff failed to “allege a specific deduction from wages” by the defendant, and instead

simply alleged that he did not receive wages to which he was entitled. See Goldberg v.

Jacquet, 667 F. App’x 313, 314 (2d Cir. 2016).4

       In Goldberg, the plaintiff actually did more to set forth an unlawful deductions

claim than did Plaintiffs here. The plaintiff in Goldberg alleged that “Defendant made

unlawful monthly deductions from [the plaintiff’s] earned base salary to cover general

business and operating costs, including overhead, of the Company, with the explicit

promise that those monies – totaling approximately $116,500 – were nevertheless owed


3
  This omission was not by accident, as Plaintiffs take care to expressly reference Sears in other
areas of the Amended Complaint. See, e.g., Am. Compl. ¶ 21 (“If HDL personnel were not
present, Sears personnel would provide the delivery manifests to Plaintiffs . . . .”) (emphasis
added); id. ¶ 23 (“Sears personnel keep track of customers’ ratings and openly discusses these
ratings with Plaintiffs . . . at least once per week . . . .”) (emphasis added).
4
  While the Goldberg decision was made at summary judgment, the district court’s decision was
largely focused on the inadequacy of the plaintiff’s allegations. See Goldberg v. Jacquet, No.
1:14-cv-01581-PAC, 2015 WL 5172939, at *3 (S.D.N.Y. Sept. 3, 2015), aff’d, 667 F. App’x 313
(2d Cir. 2016) (“Goldberg’s effort to explain why his allegations of deductions are different
from a failure to pay wages is meritless.” (emphasis added)).

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and would be paid by an (ever-expanding) date certain.” See, e.g., Goldberg Complaint

¶ 12 (attached to the Declaration of Brendan T. Killeen (“Killeen Declaration”), filed

herewith, as Exhibit A); see also id. ¶ 14 (“Beginning in July 2012, Defendant increased

his unlawful deductions from [the plaintiff’s] bi-monthly wages by an amount equal to

approximately one-fourth of his agreed upon salary, with the withheld wages being

applied to the Company’s general business and operating costs.”). The Goldberg

plaintiff, in other words, alleged: that the defendant made the deductions; for what

purpose the deductions were made; from where the deductions were made; and how

much the deductions totaled. In contrast, Plaintiffs fall far short of alleging any facts

even suggesting that Sears made deductions.

       Similarly, the text of the NYLL’s prohibition on kick-backs is dispositive,

providing that “it shall be unlawful for any person . . . to request, demand, or receive . . .

a return, donation or contribution of any part or all of [an] employee’s wages.” NYLL

§ 198-b (emphasis added); see also Chevalier v. Civil Serv. Emps. Ass’n, Inc., No. 1:10-

CV-446 FJS DRH, 2011 WL 1298739, at *10 (N.D.N.Y. Mar. 31, 2011) (“To violate

section 198–b, it is clear that the employer must request or demand that an employee

return (‘kick back’) his wages.”) (emphasis added). There is no factual allegation in

Plaintiffs’ Amended Complaint that Sears (in contrast to HDL, Plaintiffs’ alleged actual

employer) “request[ed], demand[ed], or receiv[ed]” the alleged kick-backs. Indeed,

Plaintiffs fail to make even a conclusory assertion of this, much less set forth factual

allegations sufficient to survive a motion to dismiss.

       For these additional reasons, Plaintiffs’ wage deductions (Count I) and kick-backs

(Count II) claims against Sears should be dismissed.



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       C.      Plaintiffs’ Unjust Enrichment Claim Against Sears Should Be Dismissed
               Because It Is Wholly Derivative Of Their Wage Deductions And Kick-backs
               Claims And, Alternatively, Because Plaintiffs Contend That Their
               Relationship Is Governed By A Contract.

       Plaintiffs also fail to state a claim of unjust enrichment against Sears, for two

independent reasons.

       First, the unjust enrichment claim depends entirely on Plaintiffs’ flawed wage deductions

and kick-backs claims. See Am. Compl. ¶ 54 (“Defendants have been financially enriched by

subjecting Plaintiffs . . . to deductions, charges, and/or expenses that typically are borne by

employers.”). As set forth above, there is no factual allegation that Sears took the alleged

“deductions, charges, and/or expenses.” See supra at 6-8. Because Plaintiffs’ wage deductions

and kick-backs claims fail, their derivative unjust enrichment claim thus fails as well. See

Kramer v. Pollock-Krasner Found., 890 F. Supp. 250, 257 (S.D.N.Y. 1995) (“[B]ecause [the

plaintiff’s] unjust enrichment claim hinges on practices claimed by plaintiff to be illegal, and

because the allegations of illegality in the complaint fail, the unjust enrichment claim must be

dismissed.”); In re Bank of Am. Corp. Sec., Derivative, & Emp. Ret. Income Sec. Act (ERISA)

Litig., No. 09 MD 2058 PKC, 2013 WL 1777766, at *15 (S.D.N.Y. Apr. 25, 2013) (“Because

[the plaintiff’s] unjust enrichment claim is premised on defendants’ violation of their fiduciary

duties, and the breach of fiduciary duty claim is dismissed, [the plaintiff’s] unjust enrichment

claim is dismissed as well.”).

       Second, quasi-contract claims (such as unjust enrichment) may only be brought in the

absence of an express agreement. See, e.g., MacDraw, Inc. v. CIT Grp. Equip. Fin., Inc., 157

F.3d 956, 964 (2d Cir. 1998) (holding that plaintiff was precluded from pursuing unjust

enrichment claim where agreement existed covering conduct in question); Clark-Fitzpatrick, Inc.

v. L.I.R.R. Co., 70 N.Y.2d 382, 388 (1987) (upholding dismissal of quasi-contract claims because


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such claims only apply in the absence of an express agreement). This is true even where a

plaintiff has not specifically asserted a breach-of-contract claim, like Plaintiffs here (perhaps in

an effort to avoid this argument fatal to their unjust enrichment claim). See Raske v. Next Mgmt.,

LLC, 40 Misc. 3d 1240, 977 N.Y.S.2d 669 (Sup. Ct. Sept. 12, 2013) (unpublished) (holding that

plaintiff’s unjust enrichment claim was foreclosed as matter of law by the existence of contracts

between models and modeling agencies despite the fact that plaintiff had not asserted breach-of-

contract claim). Here, Plaintiffs allege that they performed delivery services for HDL pursuant

to their contracts with HDL. Am. Compl. ¶ 13. Given the absence of any other alleged contract,

Plaintiffs necessarily allege that the services provided allegedly for Sears were pursuant to the

same contract.5 That contract bars Plaintiffs’ “quasi-contract” unjust enrichment claim.

        In sum, Plaintiffs’ unjust enrichment claim against Sears must be dismissed on this basis

as well.

V.      CONCLUSION

        For the reasons set forth above, Sears respectfully requests that this Court enter an order

dismissing, with prejudice, all claims in Plaintiffs’ Amended Complaint directed at Sears. Sears

does not concede that the claims against HDL are viable but instead defers to HDL to address

them.




5
 Alternatively, if Plaintiffs admit that there is no agreement at all that governs their relationship
with Sears, then that is grounds to dismiss their wage deductions and kick-backs claims as
discussed supra at 4-5. See Simas, 2004 WL 213013, at *2.

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Dated: July 21, 2017              Respectfully submitted,

                                  MORGAN, LEWIS & BOCKIUS LLP

                                  s/ Brendan T. Killeen
                                  Michael J. Puma
                                  1701 Market Street
                                  Philadelphia, PA 19103-2921
                                  Telephone:     +1.215.963.5000
                                  Facsimile:     +1.215.963.5001
                                  Email:         michael.puma@morganlewis.com

                                  Brendan T. Killeen
                                  101 Park Avenue
                                  New York, NY 10178
                                  Telephone:    +1.212.309.6000
                                  Facsimile:    +1.212.309.6001
                                  Email:        brendan.killeen@morganlewis.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was electronically filed with the

Court and served via its ECF/CM system, on July 21, 2017, upon the following:

                                       Samuel Alba, Esq.
                                FRIEDMAN & RANZENHOFER, P.C.
                                        74 Main Street
                                          PO Box 31
                                       Akron, NY 14001

                                        Ravi Sattiraju, Esq.
                                     Anthony S. Almeida, Esq.
                                 THE SATTIRAJU LAW FIRM, P.C.
                                  116 Village Boulevard, Suite 200
                                       Princeton, NJ 08540

                                       Harold L. Lichten, Esq.
                                     Shannon Liss-Riordan, Esq.
                                      Benjamin J. Weber, Esq.
                                 LICHTEN & LISS-RIORDAN, P.C.
                                   729 Boylston Street, Suite 2000
                                         Boston, MA 02116

                                        Attorneys for Plaintiffs


                                                    /s/ Brendan T. Killeen
                                                    Brendan T. Killeen




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